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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF RHODE ISLAND

In re:                                               :
                                                     :
MICROFIBRES, INC.                                    :                Bk. No. 16-10154
                                                     :                Chapter 7
                                                     :

                  CHAPTER 7 TRUSTEE’S OBJECTION TO CLAIM NO. 158
                        OF BE CAPITAL MANAGEMENT FUND

                 Joseph M. DiOrio, Chapter 7 trustee (the “Trustee”) of Microfibres, Inc. (the

“Debtor”), hereby objects, pursuant to Federal Rule of Bankruptcy Procedure 3007 and Local Rule

3007-1, to the proof of claim filed by BE Capital Management Fund LP1 (“Creditor”) in the amount

of $20,556.152 and identified as Claim No. 158 on the Claims Register (“Claim 158”). In support

thereof, the Trustee respectfully states as follows:

         1.      On January 29, 2016 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 7 of the United States Bankruptcy Code, and on that date, the United States

Trustee appointed Joseph M. DiOrio to act as the Chapter 7 trustee.

         2.      The matter set forth herein constitutes core proceedings, pursuant to 28 U.S.C. §

157(b)(2)(B).

         3.      On May 25, 2016, the Creditor filed a general unsecured claim acquired from

Electric Supply & Equipment, which purports to be for goods sold and delivered to the Debtor in

the amount of $10,433.65.




1
  BE Capital Management Fund LP is listed as the “Assignee of Worldwide Logistics Ltd.” on many of the claims
filed by BE Capital Management Fund LP.
2
  The claim was filed and appears on this Court’s Claims Registry in the amount of $20,556.15; however, the proof
of claim attached to Claim 158 is in the amount of $10,433.65.
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       4.     This is an identical claim to Claim 153 also filed by BE Capital Management Fund

on behalf of Electric Supply & Equipment. A copy of Claim 153 is attached hereto for ease of

reference as Exhibit A.

       5.     Claim 158 is identical to 153 and thus, duplicative.

       6.     As a result, the Trustee objects to Claim 158 in its entirety.

       7.     The Trustee reserves the right to assert other defenses to Claim 158.

       WHEREFORE, the Trustee OBJECTS to Claim 158 and requests that Claim 158 be

disallowed.

                                             Respectfully submitted,
                                             JOSEPH M. DIORIO, Chapter 7 Trustee of
                                             Microfibres, Inc.
                                             By his Attorneys,

                                             /s/ Kristen F. Cuddy
                                             Joseph M. DiOrio, Esq. (#2616)
                                             Kristen F. Cuddy, Esq. (#8148)
                                             DiOrio Law Office
                                             144 Westminster Street, Suite 302
                                             Providence, RI 02903
                                             401 632-0911/401 632-0751 Fax
                                             jmdiorio@dioriolaw.com
                                             klforbes@dioriolaw.com
Date: March 27, 2018

                                            NOTICE

     WITHIN FOURTEEN (14) DAYS IF SERVED ELECTRONICALLY, AS
EVIDENCED BY THE CERTIFICATION, AND AN ADDITIONAL THREE (3) DAYS
PURSUANT TO FED. R. BANKR. P. 9006 IF YOU WERE SERVED BY MAIL OR
OTHER EXCEPTED MEANS SPECIFIED, ANY PARTY AGAINST WHOM THIS
PAPER HAS BEEN SERVED, OR ANY OTHER PARTY TO THE ACTION WHO
OBJECTS TO THE RELIEF SOUGHT HEREIN, SHALL SERVE AND FILE AN
OBJECTION OR OTHER APPROPRIATE RESPONSE TO THIS PAPER WITH THE
BANKRUPTCY COURT CLERK’S OFFICE, 380 WESTMINSTER STREET, 6TH
FLOOR, PROVIDENCE, RI 02903, (401) 626-3100. IF NO OBJECTION OR OTHER
RESPONSE IS TIMELY FILED WITHIN THE TIME ALLOWED HEREIN, THE PAPER
WILL BE DEEMED UNOPPOSED AND WILL BE GRANTED UNLESS: (1) THE
REQUESTED RELIEF IS FORBIDDEN BY LAW; (2) THE REQUESTED RELIEF IS

                                                2
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AGAINST PUBLIC POLICY; OR (3) IN THE OPINION OF THE COURT, THE
INTEREST OF JUSTICE REQUIRES OTHERWISE. IF YOU TIMELY FILE SUCH A
RESPONSE, YOU WILL BE GIVEN THIRTY (30) DAYS NOTICE OF THE HEARING
DATE FOR THIS OBJECTION.

                                CERTIFICATE OF SERVICE

    I hereby certify that on March 27, 2018, I electronically filed the foregoing document in the
above-captioned matter with the Clerk of the Bankruptcy Court for the District of Rhode Island
using the CM/ECF system. CM/ECF participants will receive notice electronically.

   The following participants received notice electronically:

 Gary L. Donahue, Esq.           Bruce W. Gladstone, Esq.           Lauren E. Jones, Esq.
 Jennifer V. Doran, Esq.         Jeffrey K. Techentin, Esq.         Peter J. Furness, Esq.
 Paul F. O’Donnell, Esq.         Kyle Zambarano, Esq.               Lisa M. Kresge, Esq.
 Elizabeth A. Lonardo, Esq.      Kristen Forbes Cuddy, Esq.         Joseph M. DiOrio, Esq.
 Scott D. Fink, Esq.             Richard L. Gemma, Esq.             Donald G. Frankel, Esq.
 Lawrence L. Goldberg, Esq.      Marc B. Gursky, Esq.               Christopher Lefebvre, Esq.
 M. Vance McCrary, Esq.          Mary E. Olsen, Esq.                Gardner H. Palmer, Jr., Esq.
 William Walt Pettit, Esq.       Evan P. Shanley, Esq.              Matthew J. McGowan, Esq.
 Thomas S. Hemmendinger, Esq.    Sandra Nicholls, Esq.              Theodore Orson, Esq.
 Armando Batastini, Esq.         Alden C. Harrington, Esq.          Brian J. Hughes, Esq.
 Lynda L. Laing, Esq.            Michael J. Polak, Esq.             John F. Welsh, Esq.
 Martha J. Zackin, Esq.

       I further certify that on March 27, 2018, I mailed by regular mail, postage pre-paid and
emailed the document to the following non CM/ECF participants:

 B.E. Capital Management Fund LP
 228 Park Ave S #63787
 New York, New York 10003-1502
 Email: thomas@beclaims.com


                                                              /s/ Kristen F. Cuddy




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